         Case 3:18-cv-01477-JR       Document 194   Filed 04/04/22   Page 1 of 3



AMY JOSEPH PEDERSEN, OSB No. 853958
amy.joseph.pedersen@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 300
Portland, OR 97205
Telephone: (503) 224-3380
Facsimile: (503) 220-2480

DANIEL PRINCE, Cal. SB# 237112 (pro hac vice)
danielprince@paulhastings.com
FELICIA A. DAVIS, Cal. SB# 266523 (pro hac vice)
feliciadavis@paulhastings.com
LAURA ZABELE, Cal. SB# 330847 (pro hac vice)
laurazabele@paulhastings.com
PAUL HASTINGS LLP
515 South Flower Street, 25th Floor
Los Angeles, CA 90071
Telephone: (213) 683-6000
Facsimile: (213) 627-0705

Attorneys for Defendant NIKE, INC.




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


 KELLY CAHILL, SARA JOHNSTON,                Case No.: 3:18-cv-01477-JR
 LINDSAY ELIZABETH, and HEATHER
 HENDER, individually and on behalf of
 others similarly situated,                  DEFENDANT NIKE, INC.’S MOTION
                                             TO UNSEAL MOTION TO EXCLUDE
                              Plaintiffs,    THE OPINIONS OF PLAINTIFFS’
                                             EXPERT, DAVID NEUMARK, PH.D.,
         v.                                  OPPOSITION TO PLAINTIFFS’
                                             MOTION FOR CLASS
 NIKE, INC., an Oregon Corporation,          CERTIFICATION AND OBJECTIONS
                                             TO EVIDENCE FILED IN SUPPORT OF
         Defendant.                          PLAINTIFFS’ MOTION FOR CLASS
                                             CERTIFICATION




Page 1        -   DEF. NIKE, INC.’S MOTION TO UNSEAL
          Case 3:18-cv-01477-JR        Document 194        Filed 04/04/22    Page 2 of 3




                                  L.R. 7-1(a) CERTIFICATION

         In compliance with Local Rule 7-1(a), Defendant Nike, Inc. (“Nike”) certifies that it has

conferred on this Motion to Unseal with Plaintiffs’ counsel regarding the substance of this

Motion. Plaintiffs do not oppose the Motion.

                                     MOTION TO UNSEAL

         Defendant Nike, Inc. (“Nike”) hereby submits this Motion to Unseal. On March 25,

2022, Nike filed its Motion to Exclude the Opinions of Plaintiffs’ Expert, David Neumark, Ph.D.

(“Motion to Exclude”), Opposition to Plaintiffs’ Motion for Class Certification (“Opposition”)

and Objections to Evidence Filed in Support of Plaintiffs’ Motion for Class Certification

(“Objections”) under seal out of an abundance of caution. See ECF Nos. 181, 183 and 184.

After reviewing the Motion to Exclude, Opposition and Objections, Nike has determined that

they do not need to remain under seal. As such, Nike respectfully requests that the Court unseal

Nike’s Motion to Exclude, Opposition and Objections.



Dated: April 4, 2022                          Respectfully submitted,



                                              /s/ Daniel Prince
                                              Daniel Prince, Cal. SB# 237112 (pro hac vice)
                                              danielprince@paulhastings.com
                                              Felicia A. Davis, Cal. SB# 266523 (pro hac vice)
                                              feliciadavis@paulhastings.com
                                              Laura E. Zabele, Cal. SB# 330847 (pro hac vice)
                                              laurazabele@paulhastings.com

                                              PAUL HASTINGS LLP
                                              515 South Flower Street, 25th Floor
                                              Los Angeles, CA 90071-2228
                                              Telephone: (213) 683-6000
                                              Facsimile: (213) 627-0705




Page 2      -   DEF. NIKE, INC.’S MOTION TO UNSEAL
         Case 3:18-cv-01477-JR   Document 194    Filed 04/04/22   Page 3 of 3




                                      Amy Joseph Pedersen, OSB No. 853958
                                      amy.joseph.pedersen@stoel.com
                                      STOEL RIVES LLP
                                      760 SW Ninth Avenue, Suite 3000
                                      Portland, OR 97205
                                      Telephone: (503) 294-9408
                                      Facsimile: (503) 220-2480

                                      Attorneys for Defendant NIKE, INC.




Page 3    -   DEF. NIKE, INC.’S MOTION TO UNSEAL
